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AO   9l   (Rev. I   l/l   l)   Criminal Complainr



                                                    Umrpo Srarps Drsrrucr CoURT
                                                                         for the
                                                                District of New Mexico

                           United States of America
                                             v.
                           Jorge GARCIA-RASCON                                     Case No.
                               Julio GARCIA-RASCON                                            22-1230 MJ




                                      Defendant(s)


                                                          CRIMINAL COMPLAINT
             I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s)                 of              July 27,2022               in the county   of               Dona Ana                 in the
                                  District of         New Mexico        , the defendant(s) violated:

                    Code Section                                                      Offense Description
Title B U.S.C. $ 1324(a)(1 XB)(iv)                       Conspiracy to smuggle illegal aliens resulting in the death of any person




             This criminal complaint is based on these facts:

See Attached Affidavit




                                                                                                                       Digitally signed by   ROBERT B
             d      Continued on the attached sheet.                               ROBERT B                            BOONE
                                                                                                                       Date: 2022.07.28 1 1:51 :04
                                                                                   BOONE                               -06'00'
                                                                                                        C   omplainant's signature

                                                                                                        Robert Boone, HSI SA
                                                                                                         Printed name and title

Sworn to before me and signed in my presence.



Date:               ,                        /Z'L
City and state:                               Las Cruces, New Mexico                      Carmen E. Garza, U.S. Magistrate Judge
                                                                                                         Printed name and title
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                     AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
I, Robert Boone, a Special Agent with the Homeland Security Investigations (HSI), being duly sworn,
depose and state as follows:

    1. I make this affidavit in support of a criminal complaint        that Jorge GARCIA-RASCON, born in
         2001 (hereafter GARCIA-RASCON), did knowingly and intentionally enter into a conspiracy to
         transport five illegal aliens, in violation of Title 8 U.S.C. Section n2a (a)(l)(BXiv).

    2.   I have been employed as a Special Agent of HSI since November of 2007. I am classified,
         trained, and employed as a federal law enforcement officer with statutory arrest authority charged
         with conducting criminal investigations of alleged violations of federal criminal statutes,
         including Title 8 of the United States Code. I am currently assigned to the Office of the Special
         Agent in Charge EL Paso, Texas. I am currently assigned to investigate violations of federal law,
         including alien smuggling

    J.   During my tenure with the HSI, I have received formal and informal training in conducting avariety
         of criminal investigations. I have participated in the execution of search warrants and seized
         evidence of these violations, conducted surveillance, and investigated alien smuggling. I have
         conducted dozens of interviews, to include witness, subject, and victim interviews.

    4.   The information contained herein is based upon my own investigations as well as information
         supplied to me by other duly sworn law enforcement officers, and does not contain all information
         known by me, only facts for consideration of probable cause.

    5.   The following information comes from reports oral statements by United States Border
         Patrol Agents on July 27,2022, concerning an alien smuggling event that occurred on
         that day. On July 27,2022, at approximately 4:30 am, United States Border Patrol agents
         were patrolling New Mexico Highway 9 near the Pete Domenici Freeway in Santa
         Teresa, New Mexico. During their patrols, agents observed a tan Chevrolet Tahoe
         bearing Mississippi plates PND5898 heading westbound on Highway 9. Minutes later,
         the same vehicle was observed heading eastbound on Highway 9. Agents observed that
         the vehicle was riding low as if it was weighed down.

    6.   Border Patrol Agents initiated a traffic stop on Highway 9. The Tahoe failed to yield and
         proceeded at a high rate of speed northbound on Pete Domenici Highway. At this point,
         Border Patrol agents ceased the pursuit and turned off their takedown lights and sirens.
         The vehicle then lost control at the intersection of Airport Road and McNutt in Santa
         Teresa, New Mexico and flipped and rolled off the road.

    7.   Emergency Services, Border Patrol, and HSI responded to the scene of the accident.
         When the law enforcement approached the vehicle, two occupants, later identified as
         Jorge GARCIA-RASCON and Julio GARCIA-RASCON attempted to flee the scene on
         foot and were apprehended.

    8.   Law Enforcement on the scene established that there were thirteen occupants in the
         vehicle, all of whom were foreign nationals and in the United States illegally.
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9.   Two of the occupants of the vehicle were killed during the rollover accident. All other
     occupants, except for Jorge GARCIA-RASCON, were transported to University Medical
     Center in El Paso, Texas, for treatment.

10. Jorge   GARCIA-RASCON was made aware of his Miranda Rights in Spanish and agreed
     to answer questions without the presence of an attorney. During the interview, Jorge
     GARCIA-RASCON stated that he and his brother, Julio GARCIA-RASCON were both
     Mexican Nationals who were smuggled into the United States illegally. Jorge GARCIA-
     RASCON stated that he and his brother were staying at a Motel in El Paso and were
     transporting illegal aliens for an Alien Smuggling Organization. He stated that he had
     transported six illegal aliens to Albuquerque, New Mexico, during the last week. He
     stated that he was not being paid, but in return for working he would not have to pay his
     smuggling fees.

11. Julio  GARCIA-RASCON was read his Miranda Rights in Spanish and agreed to answer
     questions without the presence of an attorney. During the interview, he stated he and his
     brother, Jorge GARCIA-RASCON, had been working for an Alien Smuggling
     Organization. He stated that he had once transported illegal aliens to from El Paso, Texas
     to Albuquerque, New Mexico. He stated that he was paid $500 per illegal alien. He
     stated that Jorge GARCIA-RASCON had made two such trips to Albuquerque. He stated
     that his employer in the Alien Smuggling Organization told him not to stop if law
     enforcement attempted to pull him over.
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Respectfully submitted,


                                                                     Digitally signed by   ROBERT B
                                                ROBERT B             BOONE
                                                                     Date: 2022.07.28   I 1 :51 :46
                                                BOONE                -06'00'


                                                Robert Boone

                                                Special Agent

                                                Homeland Security Investigations




Subscribed and sworn to before me   this 27   day   of Iuly 2022.




United StateTNlagistrate Judge

District of New Mexico
